         Case 19-40883             Doc 1           Filed 02/18/19          Entered 02/18/19 22:03:20                     Main Document
 Fill in this information to identify the case:
                                                                         Pg 1 of 41

 United States Bankruptcy Court for the:
           Eastern
 ____________________             Missouri
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Payless Holdings LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used
     in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




3.   Debtor’s federal Employer             8 ___
                                           ___ 0 – ___
                                                   0 ___
                                                       8 ___
                                                         5 ___
                                                             5 ___
                                                               7 0     4
                                                                   ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                            3231          Southeast Sixth Avenue
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box
                                            Topeka                   KS      66607-2207
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Shawnee
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 http://www.payless.com
                                           ____________________________________________________________________________________________________

                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor           Payless Holdings LLC
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



7.    Describe debtor’s business           A. Check one:

                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 Commodity Broker (as defined in 11 U.S.C. §101(6))
                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ✔     1one of the above



                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 4 ___
                                                ___ 4 ___
                                                       8 ___
                                                          2

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                           ✔
                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                                4/01/16 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases           No
      filed by or against the debtor
                                            Yes.
                                           ✔                    Eastern Missouri
                                                      District _______________________       04/04/2017 Case number _________________________
                                                                                       When _______________          17-42267-659
      within the last 8 years?
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a
                                            Yes.
                                           ✔
                                                              See Rider 1
                                                      Debtor _____________________________________________               Affiliate
                                                                                                           Relationship _________________________
      business partner or an
      affiliate of the debtor?                                  Eastern District of Missouri
                                                      District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Payless Holdings LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                      ✔
                                       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       ✔ No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                               Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                               Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       ✔ Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                            
                                                                                                                  ✔ 50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                  ✔ $500,000,001-$1 billion
                                                                                                                  
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor          Payless Holdings LLC
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                  ✔ $500,000,001-$1 billion
                                                                                                                      
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                        Q   I have been authorized to file this petition on behalf of the debtor.

                                        Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                         02 18 2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8 /s/ Stephen Marotta
                                            _____________________________________________               Stephen Marotta
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Restructuring Officer
                                            Title _________________________________________




18.   Signature of attorney
                                        8 /s/ Richard W. Engel Jr.
                                            _____________________________________________              Date          02 18 2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Richard W. Engel Jr.
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Armstrong Teasdale, LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            7700        Forsyth Boulevard, Suite 1800
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             St. Louis
                                            ____________________________________________________            MO
                                                                                                           ____________  63105
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             314-621-5070
                                            ____________________________________                            rengel@armstrongteasdale.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             34641
                                            ______________________________________________________  MO
                                                                                                   ____________
                                            Bar number                                             State




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                                               Rider 1
                                     Pending Bankruptcy Cases
                           Filed by the Debtor and Affiliates of the Debtor

    On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Eastern District of Missouri for relief
under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Payless
Holdings LLC.1

    x   Payless ShoeSource, Inc.
    x   Payless Intermediate Holdings LLC
    x   WBG-PSS Holdings LLC
    x   Payless Inc.
    x   Payless Finance, Inc.
    x   Collective Brands Services, Inc.
    x   PSS Delaware Company 4, Inc
    x   Shoe Sourcing, Inc.
    x   Eastborough, Inc.
    x   Payless Purchasing Services, Inc.
    x   Payless ShoeSource Merchandising, Inc.
    x   Payless Gold Value CO, Inc.
    x   Payless ShoeSource Distribution, Inc.
    x   Payless ShoeSource Worldwide, Inc.
    x   Payless NYC, Inc.
    x   Payless ShoeSource of Puerto Rico, Inc.
    x   Payless Collective GP, LLC
    x   Collective Licensing, LP
    x   Collective Licensing International, LLC
    x   Clinch, LLC
    x   Collective Brands Franchising Services, LLC
    x   Payless International Franchising, LLC


1
 On April 4, 2017, the Debtors’ predecessors-in-interest commenced chapter 11 cases (the “Prior Cases”) before the
United States Bankruptcy Court for the Eastern District of Missouri, which were jointly administered under the
caption In re Payless Holdings LLC, No. 17-42267. A plan of reorganization was confirmed in the Prior Cases on
July 26, 2017, and such plan went effective on August 10, 2017. All of the Prior Cases, other than the cases of
Payless Holdings LLC (Case No. 17-42267), and Payless ShoeSource Worldwide, Inc. (Case No. 17-42288), have
been closed.
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   x   PSS Canada, Inc.
   x   Payless ShoeSource Canada, Inc.
   x   Payless ShoeSource Canada GP, Inc.
   x   Payless ShoeSource Canada, LP




                                              2
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 Fill in this information to identify the case:
 Debtor         PAYLESS HOLDINGS LLC
 name
 United States Bankruptcy Court EASTERN DISTRICT OF                                                                                                Check if this is an
 for the:                              MISSOURI
 Case number (if                                                                                                                                   amended filing
 known):


     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured
     Claims and Are Not Insiders

                12/15

     A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or
     Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person
     or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value
     places the creditor among the holders of the 50 largest unsecured claims.

     This is a consolidated list of creditors for all of the Debtors in the chapter 11 cases of
     Payless Holdings LLC, et. al

Name of creditor and complete mailing   Name, telephone number and email address   Nature of claim Indicate Amount of claim
address, including zip code             of creditor contact                        (for example,     if claim is If the claim is fully unsecured, fill in only unsecured claim
                                                                                   trade debts, bank contingen amount. If claim is partially secured, fill in total claim
                                                                                   loans,                 t,     amount and deduction for value of collateral or setoff to
                                                                                   professional      unliquida calculate unsecured claim.
                                                                                   services, and       ted, or   Total claim, if      Deduction         Unsecured claim
                                                                                   government         disputed partially              for value of
                                                                                   contracts)                    secured              collateral or
                                                                                                                                      setoff
1         MODA                          Attn: Anthony Brian Cox, Director          Trade                                                                 $9,012,814.92
                                        Phone: 852-27368092
                                        Fax: 852-27303799
          SUITE 3601, 36/F,             Email: Tony@moda-shoebiz.com
          AIA KOWLOON
          TOWER,
          LANDMARK                      Attn: Jack Silvera, CEO & Founder
                                        Phone: 310-647-6700 X. 737
                                        Email: jascks@dynashoe.com
          EAST, 100 HOW
          MING ST., KWUN
          TONG

          HONG KONG
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2     PERFORMANCE           Attn: Mike Kaplan, CEO            Trade                           $5,520,113.07
      TEAM FREIGHT          Phone: 562-345-2200
                            Fax: 562-741-2500
      SYSTEMS INC

      2240 E MAPLE AVE
      EL SEGUNDO, CA
      90245

3     PANHONG               Attn: Anthony Xie                 Trade                           $4,242,281.33
      FOOTWEAR CO
      LTD

      SATANGZAI
      INDUSTRIAL,
      XINTANG
      VILLAGE, HOUJIE
      TOWN,
      DONGGUAN CITY,
      GUANGDONG
      PROVINCE

      CHINA

4     EVER-RITE             Attn: Albert Wang, Owner          Trade
      INTERNATIONAL         Phone: 886-2-2999-8888 ext. 313
                            Email: Sharon@mail.everite.com
      CO LTD

      7F; NO 27;
      SONGYONG RD
      SINYI DISTRICT
      TAIPEI CITY 110

      TAIWAN

                                                                                              $4,170,222.94
5     THE ASEAN CORP        Attn: Clarence Choi               Trade
      LTD                   Phone: 852-39637026
                            Email:
                            Clarence_Choi@topline.corp.com
      ROOM 1102-5, 11F,
      9 WING HONG ST        Attn: Edward Rosenfeld, CEO
      SHEUNG                Phone: 718-308-2263
                            Email:
      SHA WAN               edrosenfeld@stevemadden.com
      KOWLOON

      HONG KONG
                                                                                              $3,688,538.24




                                                              2
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6      C & C ACCORD         Attn: Annie Chang, CFO          Trade
       LTD                  Phone: 886-917-224588
                            Fax: 8886-4-2254-0976

       5F-1, 186, TA TUN    Email: annie@dibafareast.com
       19TH ST.             annie@dbaccord.com
       TAICHUNG

       TAIWAN
                                                                                              $3,682,265.83
7      HUGE                 Attn: Joseph Lin, CEO           Trade
       DEVELOPMENT          Phone: 886-4-23051789
                            Fax: 886-4-2051471
       LTD.                 Email: Joseph@hugeintl.com

       2ND FLOOR, ETON
       TOWER, 8 HYSAN
       AVENUE
       CAUSEWAY BAY

       HONG KONG                                                                              $3,642,442.51
8      TOP LUCK ASIA        Attn: Legal Department          Trade
       LIMITED

       FLAT RM A 12F
       ISLAND
       HARBOURVIEW
       TOWER 6
       11 HOI FAI ROAD
       KL

       HONG KONG                                                                              $3,628,168.11
9      ESO                  Attn: Legal Department          Trade
       INTERNATIONAL
       LIMITED

       ROOM 401
       SILVERCORD
       TOWER II, 30
       CANTON ROAD
       KOWLOON

       HONG KONG                                                                              $3,626,295.19
10     TOPSMART             Attn: George Liao, GMM          Trade
       INTERNATIONAL        Phone: 1-212-239-4530
                            Email:
       CO., LTD.            George.liao@jacksonbags.com

       4F, NO.5, LANE 28    Attn: Jackson Liao, President
       SIALUN ROAD          Phone: 212-239-4530
                            Email:
       TAIPEI               Jackson.liao@jacksonbags.com

       TAIWAN, R.O.C.                                                                         $3,336,355.77



                                                             3
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11     JIANGXI LIFENG      Attn: Legal Department               Trade
       SHOES CO LTD

       CHAO YANGSAN
       RD CHAOYANG
       INDUSTRY PARK
       XINZHOU
       DISTRICT
       SHANGRAO CITY

       CHINA                                                                          $3,070,158.33
12     XIAMEN C AND D      Attn: Mr. Jian Ning Lin, GMM         Trade
       LIGHT INDUSTRY      Phone: 86-18016508888
                           Email: 180116508888@189.CN
       CO LTD

       UNIT A, 17/F,C7D
       INTERNATIONAL
       BUILDING
       HUANDAO EAST
       ROAD, SIMING
       AREA
       XIAMEN

       CHINA
                                                                                      $2,917,171.65
13     COGNIZANT           Attn: President or General Counsel   Trade
       TECHNOLOGY          Phone: 201-801-0233
                           Fax: 201-801-0243
       SOLUTIONS US        Email: inquiry@cognizant.com
       CORP

       500 FRANK W
       BURR BLVD
       TEANECK, NJ
       07666
                                                                                      $2,849,800.27
14     MARC USA            Attn: Michele Fabrizi, President     Trade
       CHICAGO             and CEO
                           Phone: 312-321-9000
                           Fax: 312-321-1736
       325 NORTH LA
       SALLE ST, SUITE
       750
       CHICAGO, IL 60654                                                              $2,668,665.02




                                                                4
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15     FUJIAN PUTIAN       Attn: Legal Department      Trade
       FORTUNE
       CREATION
       IMPORT

       PHOENIX VILLA
       LICHENG SOUTH
       RO XITANG
       NEIGHBORHOOD
       COMMITTEE
       FUJIAN 351100

       CHINA                                                                         $2,417,136.71
16     HONG KONG           Attn: Legal Department      Trade
       OLISA CO
       LIMITED

       902A,9/F,
       RICHMOND
       COMMERCIAL
       BLDG 111 ARGYLE
       ST MONGKOK
       KOWLOON

       HONG KONG                                                                     $2,353,021.37
17     FUJIAN PUTIAN       Attn: Legal Department      Trade
       POWER RICH
       IMPORT &
       EXPORT

       F8TH, PHENIX
       BUILDING,
       LICHENG ROAD
       CHENG XIANG
       AREA
       PUTIAN 351100

       CHINA                                                                         $2,289,100.73
18     SANTAK              Attn: Lu.Huei-Ting, Owner   Trade
       CORPORATION         Fax: 886-4-24529155
                           Email:
                           cory_chen@santakcorp.com
       11F, NO 25,
       HUIMIN RD.
       XITUN DISTRICT
       TAICHUNG CITY
       407

       TAIWAN
                                                                                     $2,010,793.97




                                                       5
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19     RJTB GROUP LLC      Attn: Thomas Butkiewicz, Owner   Trade
                           Phone: 203-531-7216
       253 MILL ST
       GREENWICH, CT
       06830
                                                                                     $1,983,641.59
20     TAIZHOU GLOBAL Attn: Legal Department                Trade
       TRADING CO., LTD

       10F NO4
       BUILDING,
       WANDA PLAZA
       TAIZHOU
       ZHEJIANG

       CHINA
                                                                                     $1,891,961.34
21     GLORY CHINA         Attn: John Chai                  Trade
       FOOTWEAR CO         Phone: 86-138060250221
                           Fax: 86-592-82666798
       LIMITED             Email: john@glory-china.net

       FLAT B 11F WING     Attn: Jack Silvera, CEO
       TAT                 Phone: 310-647-6700 x737
                           Email: jacks@dynashoe.com
       COMMERCIAL
       BUILDING
       NO 121 125 WING
       LOK ST
       SHEUNG WAN

       HONG KONG
                                                                                     $1,864,234.84
22     CHAMPION            Attn: Don Burton, Marketing      Trade
       ATHLETICWEAR        Director
                           Phone: 336-519-7403
                           Fax: 336-519-4136
       1000 E HANES
       MILL RD
       WINSTON SALEM,
       NC 27105                                                                      $1,644,522.19
23     PEDS LEGWEAR        Attn: Michael Penner, CEO        Trade
       USA INC             Phone: 514-875-5575 ext. 12
                           Fax: 828-397-1149
                           Email: mpenner@peds.com
       P.O. BOX 286
       HILDEBRAN, NC
       28637
                                                                                     $1,611,090.01




                                                            6
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24     MEDIA NEWS           Attn: Linda Bradford, Branch        Trade
       GROUP                Manager
                            Phone: 303-954-6360

       ADTAXI
             12320
       ORACLE BLVD
       #310
       COLORADO
       SPRINGS, CO 80921
                                                                                       $1,516,191.45
25     FIRST SERVICE        Attn: Michael Ferreira, President   Trade
       NETWORKS INC         Phone: 866-912-1376
                            Fax: 817-571-0601

       111333 N.
       SCOTTSDALE
       ROAD, SUITE 260
       SCOTTSDALE, AZ
       85254                                                                           $1,470,205.67
26     SLONG                Attn: Legal Department              Trade
       INDUSTRIAL CO
       LIMITED

       UNIT 1001
       FOURSEAS BLDG
       208-2012 NATHAN
       RD
       KOWLOON

       HONG KONG
                                                                                       $1,327,908.68
27     TOPLINE IMPORTS      Attn: Bryan Collins                 Trade
       INC                  Phone: 425-643-3003
                            Fax: 425-643-3846
                            Email:
       C/O STEVE            Bryan_collins@toplinecorp.com
       MADDEN LTD
       52-16 BARNETT        Attn: Edward Rosenfeld, CEO
                            Phone 718-308-2263
       AVE                  Email:
       LONG ISLAND          edrosenfeld@stevemadden.com
       CITY, NY 11104
                                                                                       $1,319,960.96
28     INTER-PACIFIC        Attn: Frank Arnstein                Trade
       CORP.                Phone: 310-473-7591
                            Fax: 310-479-8701

       2257 COLBY AVE.
       LOS ANGELES, CA
       90064
                                                                                       $1,300,842.26




                                                                7
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29     ALLIANCE              Attn: Jeff King, CEO and Jeff        Trade
       SHIPPERS, INC.        Fromm, President
                             816-500-1500
                             816-842-6494
       P.O. BOX 827505
       PHILADELPHIA,
       PA 19182-7505
                                                                                        $1,123,721.00
30     E.S. ORIGINALS,       Attn: Tom Meer                       Trade
       INC.                  Phone: 212-124-8124
                             Fax: 212-736-8366

       450 W. 33RD ST.
       NEW YORK, NY
       10001-3305
                                                                                         $992,618.73
31     INTERLOOP             Attn: Shelly Rider, President        Trade
       LIMITED               Phone: 336-770-1666
                             Fax: 336-723-1007
                             Email: srider@il-na.com
       138 S CHERRY
       STREET
       SUITE 400
       WINSTON SALEM,
       NC 27101
                                                                                         $931,553.78
32     GENNARO, INC.         Attn: Steven Casinelli, President    Trade
                             Phone: 401-632-4100
                             Fax: 401-216-9212
       1725 PONTIAC
       AVENUE
       CRANSTON, RI
       02920
                                                                                         $929,390.79
33     SANTANA SHOES,        Attn: President or General Counsel   Trade
       INC.                  Phone: 310-647-6700
                             Email: info@dynashoe.com

       800 N. SEPULVEDA
       BLVD.
       EL SEGUNDO, CA
       90245
                                                                                         $800,505.74
34     MYSTIC APPAREL        Attn: Legal Department               Trade
       LLC                   Phone: 212-704-0424
                             Fax: 212-944-6478

       1333 BROADWAY,
       6TH FLOOR
       NEW YORK, NY
       10018
                                                                                         $779,064.58




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35     FUSION             Attn: Legal Department     Trade
       ACCESSORIES
       GROUP LIMITED

       25/FL, GRANDION
       PLAZA
       932 CHEUNG SHA
       WAN ROAD
       KOWLOON

       HONG KONG
                                                                                     $777,285.62
36     US CUSTOMS &       Attn: General Counsel      Duties &
       BORDER             Phone: 404-675-1300        Taxes
                          Fax: 404-675-1231
       PROTECTION

       157 TRADEPORT
       DRIVE
       ATLANTA, GA
       30354
                                                                                     $726,954.86
37     ACXIOM             Attn: Legal Department     Trade
       CORPORATION        Phone: 501-336-1000


       301 E DAVE WARD
       DRIVE
       CONWAY, AR
       72032-7114

                                                                                     $724,655.65
38     CA TECHNOGIES      Attn: Legal Department     Trade
       (FORMERLY          Phone: 800-225-5224
                          Fax: 212-310-6222
       KNOWN AS CA,
       INC.)

       520 MADISON
       AVENUE
       22nd FLOOR
       NEW YORK, NY
       10022
                                                                                     $709,551.50
39     GOOGLE LLC         Attn: Sundar Pichai, CEO   Trade
                          Phone: 650-253-0000
                          Fax: 650-253-0001
       1600
       AMPHITHEATRE
       PARKWAY
       MOUNTAIN VIEW,
       CA 94043
                                                                                     $695,161.10




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40     STATE OF             Attn: Legal Division              Taxes
       CALIFORNIA           Phone: 914-445-2636
                            Fax: 914- 322-4404

       300 CAPITOL
       MALL, SUITE 1850
       SACRAMENTO, CA
       95814
                                                                                       $689,818.00
41     PROVIDENCE           Attn: Jamie Dineen, Founder/CEO   Trade
       PRODUCTS LLC         Phone: 704-672-9106
                            Fax: 704-672-9107

       559 GRIFFITH RD
       CHARLOTTE, NC
       28217
                                                                                       $684,549.52
42     HIGHCOM              Attn: Lisa Chen                   Trade
       INTERNATIONAL        Phone: 886-935-396822
                            Fax: 886-4-23585366
       LIMITED              Email: lisa@highchain.com.tw

       5F-3, NO 123, SEC.
       3
       CHUNG KANG
       ROAD, SIE-TUN
       DISTRICT
       TAICHUNG

       TAIWAN
                                                                                       $670,298.98
43     CONTINENTS           Attn: Legal Department            Trade
       SOURCING
       ENTERPRISES,
       LTD.

       18 F., 109, SEC. 3
       CHUNG KANG RD.
       TAICHUNG

       TAIWAN
                                                                                       $662,866.44
44     TRI-COASTAL          Attn: Michael Mastrangelo,        Trade
       DESIGN GROUP,        President
                            Phone: 973-560-0300
       INC.                 Fax: 973-560-9020

       40 HARRY SHUPE
       BLVD
       WHARTON, NJ
       07885
                                                                                       $643,017.99




                                                              10
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                                              Pg 17 of 41


45     ENGIE INSIGHT       Attn: Mathias Lelievre, President   Utilities
       (FORMERLY           & Chief Executive Officer
                           Phone: 509-329-7600
       ECOVA)              Fax: 509-329-7287

       1313 N. ATLANTIC
       STREET, SUITE
       5000 SPOKANE,
       WA 99201-2330
                                                                                       $642,456.27
46     SKECHERS USA,       Attn: Robert Greenberg, CEO         Trade
       INC.                Phone: 310-318-2982


       228 MANHATTAN
       BEACH BLVD
       MANHATTAN
       BEACH, CA 90266
                                                                                       $634,952.15
47     FANTASIA            Attn: Michael Blancone, Chief       Trade
       ACCESSORIES         Operating Officer
                           Phone: 212-391-1080
       LTD.                Fax: 212-204-8733

       31 WEST 34TH
       STREET
       NEW YORK, NY
       10001
                                                                                       $621,833.77
48     SALESFORCE.COM      Attn: Marc Benioff, Chairman &      Trade
       INC.                Co-CEO                                                      $616,839.40
                           Phone: 415-901-7000
                           Fax: 415-901-7040
       415 MISSION
       STREET, 3RD
       FLOOR
       SAN FRANCISCO,
       CA 94105

49     EVERYTHING          Attn: Legal Department              Trade
       LEGWEAR LLC         Phone: 469-374-7600                                         $601,227.19
                           Email: shop@elegwear.com

       48855 ALPHA
       ROAD
       DALLAS, TX 75244




                                                               11
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                                              Pg 18 of 41


50     FANTASIA HONG        Attn: Legal Department   Trade
       KONG LTD.                                                                       $582,244.28

       RM 01-02; 5/F,
       TOWER A,
       REGENT CNTR
       63 WO YI HOP
       ROAD
       KWAI CHUNG
       NEW
       TERRITORIES

       HONG KONG




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

                                                             )
In re:                                                       )     Case No. 19-________ (___)
                                                             )
PAYLESS HOLDINGS LLC,                                        )     CHAPTER 11
                                                             )
                                                             )     (Joint Administration Requested)
                                    Debtors.                 )



                              LIST OF EQUITY SECURITY HOLDERS1


         Debtor                  Equity Holders              Address of Equity Holder               Percentage
                                                                                                     of Equity
                                                                                                       Held

    Payless Holdings          Alden Global Capital            885 3rd Avenue, 34 Floor                 66.5%
          LLC                                                  New York, NY 10022

    Payless Holdings            Invesco Senior              3500 Lacy Drive, Suite 700                  7.7%
          LLC                Secured Management              Downers Grove, IL 60515

    Payless Holdings            York Capital                 767 5th Avenue , 17th Floor                6.3%
          LLC                 Management Global                New York, NY 10153
                                  Advisors

    Payless Holdings             Octagon Credit             245 Park Avenue, 16th Floor                 4.9%
          LLC                      Investors                   New York, NY 10167

    Payless Holdings           H.I.G. Whitehorse                 200 Crescent Court,                    2.5%
          LLC                       Capital                          Suite 1414
                                                                  Dallas, TX 75201

    Payless Holdings               MJX Asset               12 East 49th Street, 29th Floor              2.0%
          LLC                      Management                 New York, NY 10017




1
 This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
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  Payless Holdings          Logan Asset              599 Lexington Avenue,           1.8%
        LLC                 Management                     38th Floor
                                                      New York, NY 10022

  Payless Holdings       American Money        301 East 4th Street, 27th Floor       1.4%
        LLC               Management              Cincinnati, OH 45202

  Payless Holdings     Seaport Group                                                 1.4%
        LLC          Baseball Cards LLC

  Payless Holdings       Trimaran Advisors     295 Madison Avenue, Floor 6           1.0%
        LLC                                       New York, NY 10017

  Payless Holdings        Starwood Credit           5 Greenwich Office Park          0.9%
        LLC                   Advisors               Greenwich, CT 06831

  Payless Holdings   Apex Credit Partners            520 Madison Avenue,             0.9%
        LLC                                               18th Floor
                                                     New York, NY 10022

  Payless Holdings       Credit Suisse Asset         11 Madison Avenue,              0.7%
        LLC                 Management                   23rd Floor
                                                     New York, NY 10010

  Payless Holdings   Tall Tree Investment          220 South Riverside Plaza,        0.7%
        LLC              Management                        Suite 620
                                                       Chicago, IL 60606

  Payless Holdings       USDR Investment           5575 Kietzke Lane, Suite A        0.4%
        LLC                Management                   Reno, NV 89511

  Payless Holdings   JMP Credit Advisors           3440 Preston Ridge Road.          0.4%
        LLC                                               Suite 350
                                                     Alpharetta, GA 30005

  Payless Holdings       Bank of America,           Hearst Tower, 214 North          0.2%
        LLC                   N.A.                   Tryon Street, 4th Floor
                                                     Charlotte, NC 28255

  Payless Holdings         Five Arrows                633 West 5th Street,           0.2%
        LLC               Managers North                  Suite 6700
                             America                Los Angeles, CA 90071

  Payless Holdings        Morgan Stanley           1585 Broadway, 2nd Floor          0.1%
        LLC                Swap Claim                New York, NY 10036




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  Payless Holdings       Sienna Capital        10100 Santa Monica           0.0%
        LLC              Holdings LLC         Boulevard, Suite 2400       (Given the
                                              Los Angeles, CA 90067     number of units
                                                                            owned,
                                                                         percentage of
                                                                         interest is de
                                                                           minimus)




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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                                  )
In re:                                            )     Case No. 19-________ (___)
                                                  )
PAYLESS HOLDINGS LLC,                             )     CHAPTER 11
                                                  )
                                                  )     (Joint Administration Requested)
                              Debtors.            )


                        CORPORATE OWNERSHIP STATEMENT


       Pursuant to 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:



                Shareholder                       Approximate Percentage of Shares Held

Alden Global Capital                            66.5%
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 Fill in this information to identify the case:

 Debtor name         Payless Holdings LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         9        Other document that requires a declaration    -JTUPG&RVJUZ4FDVSJUZ)PMEFSTBOE$PSQPSBUF0XOFSTIJQ4UBUFNFOU

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 18, 2019                       X /s/ Stephen Marotta
                                                                       Signature of individual signing on behalf of debtor

                                                                       Stephen Marotta
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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         7KHXQGHUVLJQHGEHLQJWKHERDUGRIGLUHFWRUVERDUGRIPDQDJHUVRUVROHPHPEHUDVDSSOLFDEOH
HDFK WKH ³*RYHUQLQJ %RG\´ RI WKH DSSOLFDEOH HQWLW\ VHW IRUWK RQ $QQH[ $ DWWDFKHG KHUHWR HDFK D
³&RPSDQ\´DQGFROOHFWLYHO\WKH³&RPSDQLHV´KHUHE\WDNHWKHIROORZLQJDFWLRQVDQGDGRSWWKHIROORZLQJ
UHVROXWLRQVE\XQDQLPRXVZULWWHQFRQVHQWLQOLHXRIDVSHFLDOPHHWLQJRIVXFK*RYHUQLQJ%RG\SXUVXDQW
WRDVDSSOLFDEOHWKHE\ODZVOLPLWHGOLDELOLW\FRPSDQ\DJUHHPHQWRUVLPLODUGRFXPHQWLQHDFKFDVHDV
DPHQGHGRUDPHQGHGDQGUHVWDWHGWRGDWHRIHDFK&RPSDQ\WKH³*RYHUQLQJ'RFXPHQW´DQGWKHODZVRI
WKHVWDWHRIIRUPDWLRQRIHDFK&RPSDQ\DVVHWIRUWKQH[WWRHDFK&RPSDQ\¶VQDPHRQ$QQH[$

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                 :+(5($6HDFK*RYHUQLQJ%RG\FRQVLGHUHGSUHVHQWDWLRQVE\HDFK&RPSDQ\¶V
        PDQDJHPHQW WKH ³0DQDJHPHQW´ DQG ILQDQFLDO DQG OHJDO DGYLVRUV FROOHFWLYHO\ WKH
        ³$GYLVRUV´UHJDUGLQJWKHOLDELOLWLHVDQGOLTXLGLW\VLWXDWLRQRIHDFK&RPSDQ\WKHVWUDWHJLF
        DOWHUQDWLYHVDYDLODEOHWRLWDQGWKHHIIHFWRIWKHIRUHJRLQJRQHDFK&RPSDQ\¶VEXVLQHVV
        DQG

                  :+(5($6HDFK*RYHUQLQJ%RG\GLVFXVVHGWKHIRUHJRLQJZLWKWKH0DQDJHPHQW
        DQGWKH$GYLVRUVDQGKDVGHWHUPLQHGLQWKHMXGJPHQWRIHDFK*RYHUQLQJ%RG\WKDWLWLV
        LQ WKH EHVW LQWHUHVWV RI HDFK &RPSDQ\ LWV FUHGLWRUV DQG IXOO\ FRQVLGHUHG HDFK RI WKH
        VWUDWHJLFDOWHUQDWLYHVDYDLODEOHWRHDFK&RPSDQ\

                 12:7+(5()25(%(,7

                 5(62/9('WKDWLQWKHMXGJPHQWRIHDFK*RYHUQLQJ%RG\LWLVGHVLUDEOHDQGLQ
        WKHEHVWLQWHUHVWVRIHDFK &RPSDQ\LWVFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVWWKDWHDFK
        &RPSDQ\VKDOOEHDQGKHUHE\LVDXWKRUL]HGWRILOHRUFDXVHWREHILOHGDYROXQWDU\SHWLWLRQ
        IRUUHOLHIVXFKYROXQWDU\SHWLWLRQDQGWKHYROXQWDU\SHWLWLRQVWREHILOHGE\FHUWDLQRIHDFK
        &RPSDQ\¶V DIILOLDWHV DQG GLUHFW DQG LQGLUHFW VXEVLGLDULHV FROOHFWLYHO\ WKH ³&KDSWHU 
        &DVHV´ XQGHU WKH SURYLVLRQV RI FKDSWHU  RI WLWOH  RI WKH 8QLWHG 6WDWHV &RGH WKH
        ³%DQNUXSWF\ &RGH´ LQ WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH (DVWHUQ 'LVWULFW RI
        0LVVRXULWKH³%DQNUXSWF\&RXUW´RURWKHUFRXUWRIFRPSHWHQWMXULVGLFWLRQDQG

                 5(62/9('WKDWWKH&KLHI)LQDQFLDO2IILFHU&KLHI5HVWUXFWXULQJ2IILFHURUDQ\
        RWKHUGXO\DSSRLQWHGRIILFHURIHDFK&RPSDQ\FROOHFWLYHO\WKH³$XWKRUL]HG2IILFHUV´
        DFWLQJDORQHRUZLWKRQHRUPRUHRWKHU$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHPKHUHE\LV
        DXWKRUL]HGHPSRZHUHGDQGGLUHFWHGWRH[HFXWHDQGILOHRQEHKDOIRIHDFK&RPSDQ\DOO
        SHWLWLRQVVFKHGXOHVOLVWVDQGRWKHUPRWLRQVSDSHUVRUGRFXPHQWVDQGWRWDNHDQ\DQGDOO
        DFWLRQ WKDW WKH\ GHHP QHFHVVDU\ DSSURSULDWH RU GHVLUDEOH WR FRPSOHWH WKH ILOLQJV WR
        FRPPHQFHWKHSURFHHGLQJVIRUWKH&KDSWHU&DVHVDVSURYLGHGKHUHLQ

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               5(62/9('WKDWLQWKHMXGJPHQWRIHDFK*RYHUQLQJ%RG\LWLVGHVLUDEOHDQGLQ
      WKHEHVWLQWHUHVWVRIHDFK&RPSDQ\LWVFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVWWKDWFHUWDLQ
      &DQDGLDQ DIILOLDWHV RI WKH &RPSDQLHV FRPPHQFH SURFHHGLQJV XQGHU WKH Companies’
      Creditors Arrangement Act &DQDGD 7KH ³&&$$´ LQ WKH 2QWDULR 6XSHULRU &RXUW RI
      -XVWLFH&RPPHUFLDO/LVWDW7RURQWRWKH³&&$$3URFHHGLQJV´

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               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQGGLUHFWHGWRHPSOR\WKHODZILUPRI$NLQ*XPS6WUDXVV+DXHU	)HOG//3DVHDFK
      &RPSDQ\¶VFRXQVHOWRUHSUHVHQWDQGDVVLVWHDFK&RPSDQ\LQFDUU\LQJRXWLWVGXWLHVXQGHU
      WKH%DQNUXSWF\&RGHDQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVZLWK
      SRZHU RI GHOHJDWLRQ LV KHUHE\ DXWKRUL]HG DQG GLUHFWHG WR H[HFXWH DSSURSULDWH UHWHQWLRQ
      DJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQ
      IRU DXWKRULW\ WR UHWDLQ $NLQ *XPS 6WUDXVV +DXHU 	 )HOG //3 LQ DFFRUGDQFH ZLWK
      DSSOLFDEOHODZ

               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQG GLUHFWHG WR HPSOR\ WKH ODZ ILUP RI $UPVWURQJ 7HDVGDOH //3 DV HDFK &RPSDQ\¶V
      FRXQVHO WR UHSUHVHQW DQG DVVLVW HDFK &RPSDQ\ LQ FDUU\LQJ RXW LWV GXWLHV XQGHU WKH
      %DQNUXSWF\ &RGH DQG LQ FRQQHFWLRQ WKHUHZLWK HDFK RI WKH $XWKRUL]HG 2IILFHUV ZLWK
      SRZHU RI GHOHJDWLRQ LV KHUHE\ DXWKRUL]HG DQG GLUHFWHG WR H[HFXWH DSSURSULDWH UHWHQWLRQ
      DJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQ
      IRUDXWKRULW\WRUHWDLQ$UPVWURQJ7HDVGDOH//3LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

              5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
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      &RPSDQ\¶VFRXQVHOWRUHSUHVHQWDQGDVVLVWHDFK&RPSDQ\LQFRQQHFWLRQZLWKWKH&&$$
      3URFHHGLQJVDQGWKH&KDSWHU&DVHVDVDSSOLFDEOHDQGLQFRQQHFWLRQWKHUHZLWKHDFKRI
      WKH$XWKRUL]HG2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWR
      H[HFXWHDSSURSULDWHUHWHQWLRQDJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHG
      DQ DSSURSULDWH DSSOLFDWLRQ IRU DXWKRULW\ WR UHWDLQ &DVVHOV %URFN 	 %ODFNZHOO //3 LQ
      DFFRUGDQFHZLWKDSSOLFDEOHODZ

               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQGGLUHFWHGWRHPSOR\WKHODZILUPRI6HZDUG	.LVVHO//3DVHDFK&RPSDQ\¶VFRXQVHO
      DFWLQJ DW WKH GLUHFWLRQ RI  WR WKH LQGHSHQGHQW PDQDJHUV RI WKH %RDUG WKH ³,QGHSHQGHQW
      0DQDJHUV´WRUHSUHVHQWDQGDVVLVWWKH,QGHSHQGHQW0DQDJHUVLQPDWWHUVGHOHJDWHGWRWKH
      ,QGHSHQGHQW0DQDJHUVLQFDUU\LQJRXWWKHLUGXWLHVDV%RDUGPHPEHUVDQGLQFRQQHFWLRQ
      WKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HG
      DQGGLUHFWHGWRH[HFXWHDSSURSULDWHUHWHQWLRQDJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWR
      FDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\WRUHWDLQ6HZDUG	.LVVHO//3LQ
      DFFRUGDQFHZLWKDSSOLFDEOHODZ

               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQGGLUHFWHGWRHPSOR\WKHILUPRI$QNXUD&RQVXOWLQJ*URXS//&DVHDFK&RPSDQ\¶V
      UHVWUXFWXULQJDGYLVRUWRUHSUHVHQWDQGDVVLVWHDFK&RPSDQ\LQFDUU\LQJRXWLWVGXWLHVXQGHU
      WKH%DQNUXSWF\&RGHDQGWRWDNHDQ\DQGDOODFWLRQVWRDGYDQFHHDFK&RPSDQ\¶VULJKWV
      DQGUHPHGLHVDQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVLVZLWKSRZHU

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      RIGHOHJDWLRQKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWHUHWHQWLRQDJUHHPHQWV
      SD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\
      WRUHWDLQ$QNXUD&RQVXOWLQJ*URXS//&LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQG GLUHFWHG WR HPSOR\ WKH ILUP RI 3- 6RORPRQ /3 WRJHWKHU ZLWK HPSOR\HHV RI LWV
      DIILOLDWHVDOORIZKLFKDUHZKROO\RZQHGE\LWVSDUHQWFRPSDQ\DQGHPSOR\HHVLWVZKROO\
      RZQHGVXEVLGLDULHVDQGLQGHSHQGHQWFRQWUDFWRUVFROOHFWLYHO\³3-6´DVILQDQFLDODGYLVRU
      DQG LQYHVWPHQW EDQNHU WR UHSUHVHQW DQG DVVLVW HDFK &RPSDQ\ LQ FDUU\LQJ RXW LWV GXWLHV
      XQGHUWKH%DQNUXSWF\&RGHDQGWRWDNHDQ\DQGDOODFWLRQVWRDGYDQFHHDFK&RPSDQ\¶V
      ULJKWVDQGUHPHGLHVDQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVLVZLWK
      SRZHU RI GHOHJDWLRQ KHUHE\ DXWKRUL]HG DQG GLUHFWHG WR H[HFXWH DSSURSULDWH UHWHQWLRQ
      DJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQ
      IRUDXWKRULW\WRUHWDLQ3-6LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

                5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQGGLUHFWHGWRHPSOR\WKHILUPRI3ULPH&OHUN//&DVQRWLFHFODLPVDQGEDOORWLQJDJHQW
      DQG DV DGPLQLVWUDWLYH DGYLVRU WR UHSUHVHQW DQG DVVLVW HDFK &RPSDQ\ LQ FDUU\LQJ RXW LWV
      GXWLHV XQGHU WKH %DQNUXSWF\ &RGH DQG WR WDNH DQ\ DQG DOO DFWLRQV WR DGYDQFH HDFK
      &RPSDQ\¶V ULJKWV DQG UHPHGLHV DQG LQ FRQQHFWLRQ WKHUHZLWK HDFK RI WKH $XWKRUL]HG
      2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWH
      UHWHQWLRQ DJUHHPHQWV SD\ DSSURSULDWH UHWDLQHUV DQG WR FDXVH WR EH ILOHG DQ DSSURSULDWH
      DSSOLFDWLRQIRUDXWKRULW\WRUHWDLQ3ULPH&OHUN//&LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQG GLUHFWHG WR HPSOR\ WKH ILUP RI 5HHYHPDUN //& DV FRPPXQLFDWLRQV FRQVXOWDQW WR
      UHSUHVHQW DQG DVVLVW HDFK &RPSDQ\ LQ SXEOLF UHODWLRQV DQG FRPPXQLFDWLRQV DQG LQ
      FRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVLVZLWKSRZHURIGHOHJDWLRQKHUHE\
      DXWKRUL]HG DQG GLUHFWHG WR H[HFXWH DSSURSULDWH UHWHQWLRQ DJUHHPHQWV SD\ DSSURSULDWH
      UHWDLQHUV DQG WR FDXVH WR EH ILOHG DQ DSSURSULDWH DSSOLFDWLRQ IRU DXWKRULW\ WR UHWDLQ
      5HHYHPDUN//&LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

              5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQGGLUHFWHGWRHPSOR\DQ\RWKHUSURIHVVLRQDOVWRDVVLVWHDFK&RPSDQ\LQFDUU\LQJRXWLWV
      GXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG
      2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWH
      UHWHQWLRQ DJUHHPHQWV SD\ DSSURSULDWH UHWDLQHUV DQG WR FDXVH WR EH ILOHG DQ DSSURSULDWH
      DSSOLFDWLRQ IRU DXWKRULW\ WR UHWDLQ WKH VHUYLFHV RI DQ\ RWKHU SURIHVVLRQDOV DV QHFHVVDU\
      DSSURSULDWH RU GHVLUDEOH LQFOXGLQJ ZLWKRXW OLPLWDWLRQ VSHFLDO FRXQVHO WR WKH H[WHQW
      GHWHUPLQHGQHFHVVDU\DSSURSULDWHRUGHVLUDEOHDQG

               5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVZLWKSRZHU
      RI GHOHJDWLRQ DXWKRUL]HG HPSRZHUHG DQG GLUHFWHG WR H[HFXWH DQG ILOH DOO DSSOLFDWLRQV
      SOHDGLQJV DQG RWKHU SDSHUV WR HPSOR\ DQG UHWDLQ OHJDO FRXQVHO DFFRXQWDQWV ILQDQFLDO
      DGYLVRUVUHVWUXFWXULQJDGYLVRUVDQGRWKHUSURIHVVLRQDOVDQGWRWDNHDQGSHUIRUPDQ\DQG
      DOOIXUWKHUDFWVDQGGHHGVWKDWHDFKRIWKH$XWKRUL]HG2IILFHUVGHHPQHFHVVDU\DSSURSULDWH
      RUGHVLUDEOHLQFRQQHFWLRQWKHUHZLWK

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      DQG GLUHFWHG WR HPSOR\ WKH ILUP RI 0DOILWDQR $GYLVRUV //& DV OLTXLGDWLRQ DGYLVRUV WR
      UHSUHVHQW DQG DVVLVW HDFK &RPSDQ\ ZLWK UHVSHFW WR WKH SURSRVHG OLTXLGDWLRQ RI WKH
      &RPSDQ\DQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVZLWKSRZHURI
      GHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWHUHWHQWLRQDJUHHPHQWV
      SD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\
      WRUHWDLQ0DOILWDQR$GYLVRUV//&LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

              5(62/9('WKDWHDFKRIWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\LVDXWKRUL]HG
      DQG GLUHFWHG WR HQWHU LQWR D WKDW FHUWDLQ FRQVXOWLQJ DJUHHPHQW WKH ³6SHFLILHG 6WRUH
      /LTXLGDWLRQ&RQVXOWLQJ$JUHHPHQW´GDWHGDVRI)HEUXDU\E\DQGDPRQJ3D\OHVV
      +ROGLQJV//&3D\OHVV6KRH6RXUFH&DQDGD/3DQGDMRLQWYHQWXUHFRPSULVHGRI*UHDW
      $PHULFDQ*URXS//&DQG7LJHU&DSLWDO*URXS//&WRJHWKHUWKH³&RQVXOWDQW´SXUVXDQW
      WRZKLFKWKH&RQVXOWDQWVKDOODFWDVFRQVXOWDQWWRWKH&RPSDQ\WRFRQGXFWOLTXLGDWLRQVDOHV
      WKH³6SHFLILHG6WRUH/LTXLGDWLRQ´DQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG
      2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWH
      DJUHHPHQWVSD\DSSURSULDWHIHHVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRU
      DXWKRULW\WRFRQWUDFWZLWKWKH&RQVXOWDQWLQDFFRUGDQFHZLWKDSSOLFDEOHODZ

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               :+(5($6LQWKHMXGJPHQWRIHDFK*RYHUQLQJ%RG\LWLVGHVLUDEOHDQGLQWKH
      EHVWLQWHUHVWRIHDFK&RPSDQ\LWVLQWHUHVWKROGHUVLWVFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVW
      WRREWDLQWKHEHQHILWVIURPWKHXVHRIFDVKFROODWHUDODVVXFKWHUPLVGHILQHGLQVHFWLRQ
      DRIWKH%DQNUXSWF\&RGHZKLFKLVVHFXULW\IRUFHUWDLQRIHDFK&RPSDQ\¶VVHFXUHG
      OHQGHUVXQGHULWKDWFHUWDLQFUHGLWDJUHHPHQWGDWHGDVRI$XJXVWDVDPHQGHG
      UHVWDWHGDPHQGHGDQGUHVWDWHGVXSSOHPHQWHGRURWKHUZLVHPRGLILHGSULRUWRWKH3HWLWLRQ
      'DWHWKH³3UHSHWLWLRQ$%/&UHGLW$JUHHPHQW´E\DQGDPRQJ3$</(66,1&DV³/HDG
      %RUURZHU´WKHRWKHU³%RUURZHUV´SDUW\WKHUHWRWKH³*XDUDQWRUV´SDUW\WKHUHWR:(//6
      )$5*2 %$1. 1$7,21$/ $662&,$7,21 DV DGPLQLVWUDWLYH DJHQW DQG VZLQJ OLQH
      OHQGHUDQG:(//6)$5*2%$1.1$7,21$/$662&,$7,21DVDJHQWIRUWKH),/2
      /HQGHUVHDFK&RPSDQ\WKH³3UHSHWLWLRQ$%/$JHQW´DQGWKHOHQGHUVSDUW\WKHUHWRWKH
      ³3UHSHWLWLRQ$%//HQGHUV´DQGLLWKDWFHUWDLQWHUPORDQDQGJXDUDQWHHDJUHHPHQWGDWHG
      DV RI $XJXVW   DV DPHQGHG UHVWDWHG DPHQGHG DQG UHVWDWHG VXSSOHPHQWHG RU
      RWKHUZLVH PRGLILHG SULRU WR WKH 3HWLWLRQ 'DWH WKH ³3UHSHWLWLRQ 7HUP /RDQ &UHGLW
      $JUHHPHQW´E\DQGDPRQJ:%*±366+2/',1*6//&WKH³%RUURZHUV´SDUW\WKHUHWR
      WKH³6XEVLGLDU\*XDUDQWRUV´IURPWLPHWRWLPHSDUW\WKHUHWR&RUWODQG3URGXFWV&RUSDV
      DGPLQLVWUDWLYHDJHQWDQGFROODWHUDODJHQWWKH³3UHSHWLWLRQ7HUP/RDQ$JHQW´DQGWRJHWKHU
      ZLWKWKH3UHSHWLWLRQ$%/$JHQWWKH³3UHSHWLWLRQ$JHQWV´DQGWKHOHQGHUVWKHUHWRIURP
      WLPHWRWLPHWKH³3UHSHWLWLRQ7HUP/RDQ/HQGHUV´DQGWRJHWKHUZLWKWKH3UHSHWLWLRQ$%/
      /HQGHUVWKH³3UHSHWLWLRQ/HQGHUV´

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      DQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIHDFK&RPSDQ\WRVHHNDSSURYDORIWKH
      XVHRIFDVKFROODWHUDOSXUVXDQWWRDFDVKFROODWHUDORUGHULQLQWHULPDQGILQDOIRUPD³&DVK
      &ROODWHUDO2UGHU´DQGDQ\$XWKRUL]HG2IILFHUEHDQGKHUHE\LVDXWKRUL]HGHPSRZHUHG
      DQG GLUHFWHG WR QHJRWLDWH H[HFXWH DQG GHOLYHU DQ\ DQG DOO DJUHHPHQWV LQVWUXPHQWV RU
      GRFXPHQWVE\RURQEHKDOIRIHDFK&RPSDQ\QHFHVVDU\WRLPSOHPHQWWKH&DVK&ROODWHUDO

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      2UGHULQFOXGLQJSURYLGLQJIRUDGHTXDWHSURWHFWLRQWRWKH3UHSHWLWLRQ/HQGHUVLQDFFRUGDQFH
      ZLWKVHFWLRQRIWKH%DQNUXSWF\&RGHDVZHOODVDQ\DGGLWLRQDORUIXUWKHUDJUHHPHQWV
      IRUWKHXVHRIFDVKFROODWHUDOLQFRQQHFWLRQZLWKHDFK&RPSDQ\¶V&KDSWHU&DVHVZKLFK
      DJUHHPHQWVPD\UHTXLUHHDFK&RPSDQ\WRJUDQWDGHTXDWHSURWHFWLRQDQGOLHQVWRHDFK
      &RPSDQ\¶V3UHSHWLWLRQ/HQGHUVDQGHDFKRWKHUDJUHHPHQWLQVWUXPHQWRUGRFXPHQWWREH
      H[HFXWHGDQGGHOLYHUHGLQFRQQHFWLRQWKHUHZLWKE\RURQEHKDOIRIHDFK&RPSDQ\SXUVXDQW
      WKHUHWRRULQFRQQHFWLRQWKHUHZLWKDOOZLWKVXFKFKDQJHVWKHUHLQDQGDGGLWLRQVWKHUHWRDV
      DQ\$XWKRUL]HG2IILFHUDSSURYHVVXFKDSSURYDOWREHFRQFOXVLYHO\HYLGHQFHGE\WKHWDNLQJ
      RIVXFKDFWLRQRUE\WKHH[HFXWLRQDQGGHOLYHU\WKHUHRIDQG

               5(62/9('WKDWWKH$XWKRUL]HG2IILFHUVEHDQGKHUHE\DUHDXWKRUL]HGGLUHFWHG
      DQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIHDFK&RPSDQ\WRH[HFXWHDQGGHOLYHU
      DQ\ DPHQGPHQWV VXSSOHPHQWV PRGLILFDWLRQV UHQHZDOV UHSODFHPHQWV FRQVROLGDWLRQV
      VXEVWLWXWLRQVDQGH[WHQVLRQVRIWKH&DVK&ROODWHUDO2UGHURUWRGRVXFKRWKHUWKLQJVZKLFK
      VKDOOLQKLVKHUMXGJHPHQWEHQHFHVVDU\GHVLUDEOHSURSHURUDGYLVDEOHWRJLYHHIIHFWWR
      WKHIRUHJRLQJUHVROXWLRQVZKLFKGHWHUPLQDWLRQVKDOOEHFRQFOXVLYHO\HYLGHQFHGE\KLVRU
      WKHLUH[HFXWLRQWKHUHRIDQG

              5(62/9(' WKDW HDFK &RPSDQ\ LV KHUHE\ DXWKRUL]HG WR DXWKRUL]H DQG HDFK
      &RPSDQ\ KHUHE\ DXWKRUL]HV DQ\ VXEVLGLDU\ RI VXFK &RUSRUDWLRQ RI ZKLFK VXFK
      &RUSRUDWLRQRU DQ\ VXEVLGLDU\RI VXFK&RUSRUDWLRQ LV WKH VROH PHPEHU JHQHUDO SDUWQHU
      PDQDJLQJ PHPEHU RU HTXLYDOHQW PDQDJHU DV DSSOLFDEOH WR WDNH HDFK RI WKH DFWLRQV
      GHVFULEHGLQWKHVHUHVROXWLRQVRUDQ\RIWKHDFWLRQVDXWKRUL]HGLQWKLVZULWWHQFRQVHQW

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               5(62/9('WKDWLQDGGLWLRQWRWKHVSHFLILFDXWKRUL]DWLRQVKHUHWRIRUHFRQIHUUHG
      XSRQWKH$XWKRUL]HG2IILFHUVHDFKRIWKH$XWKRUL]HG2IILFHUVDQGWKHLUGHVLJQHHVDQG
      GHOHJDWHVEHDQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRI
      HDFK&RPSDQ\WRWDNHRUFDXVHWREHWDNHQDQ\DQGDOOVXFKRWKHUDQGIXUWKHUDFWLRQDQG
      WR H[HFXWH DFNQRZOHGJH GHOLYHU DQG ILOH DQ\ DQG DOO VXFK DJUHHPHQWV FHUWLILFDWHV
      LQVWUXPHQWV DQG RWKHU GRFXPHQWV DQG WR SD\ DOO H[SHQVHV LQFOXGLQJ EXW QRW OLPLWHG WR
      ILOLQJIHHVLQHDFKFDVHDVLQVXFK$XWKRUL]HG2IILFHU¶VRU$XWKRUL]HG2IILFHUV¶MXGJPHQW
      VKDOO EH QHFHVVDU\ DSSURSULDWH RU GHVLUDEOH LQ RUGHU WR IXOO\ FDUU\ RXW WKH LQWHQW DQG
      DFFRPSOLVKWKHSXUSRVHVRIWKHUHVROXWLRQVDGRSWHGKHUHLQ

              5(62/9(' WKDW HDFK *RYHUQLQJ %RG\ KDV UHFHLYHG VXIILFLHQW QRWLFH RI WKH
      DFWLRQVDQGWUDQVDFWLRQVUHODWLQJWRWKHPDWWHUVFRQWHPSODWHGE\WKHIRUHJRLQJUHVROXWLRQV
      DVPD\EHUHTXLUHGE\WKHRUJDQL]DWLRQDOGRFXPHQWVRIHDFK&RPSDQ\RUKHUHE\ZDLYHV
      DQ\ULJKWWRKDYHUHFHLYHGVXFKQRWLFH

               5(62/9(' WKDW DOO DFWV DFWLRQV DQG WUDQVDFWLRQV UHODWLQJ WR WKH PDWWHUV
      FRQWHPSODWHG E\ WKH IRUHJRLQJ UHVROXWLRQV GRQH LQ WKH QDPH RI DQG RQ EHKDOI RI HDFK
      &RPSDQ\ZKLFKDFWVZRXOGKDYHEHHQDSSURYHGE\WKHIRUHJRLQJUHVROXWLRQVH[FHSWWKDW
      VXFKDFWVZHUHWDNHQEHIRUHWKHDGRSWLRQRIWKHVHUHVROXWLRQVDUHKHUHE\LQDOOUHVSHFWV
      DSSURYHGFRQILUPHGDQGUDWLILHGDVWKHWUXHDFWVDQGGHHGVRIHDFK&RPSDQ\ZLWKWKHVDPH
      IRUFH DQG HIIHFW DV LI HDFK VXFK DFW WUDQVDFWLRQ DJUHHPHQW RU FHUWLILFDWH KDG EHHQ
      VSHFLILFDOO\DXWKRUL]HGLQDGYDQFHE\UHVROXWLRQRIHDFK*RYHUQLQJ%RG\DQG

              5(62/9(' WKDW HDFK RI WKH $XWKRUL]HG 2IILFHUV DQG WKHLU GHVLJQHHV DQG
      GHOHJDWHVDQGHDFKRWKHUSDUWQHUPHPEHURUPDQDJLQJPHPEHURIHDFKGLUHFWVXEVLGLDU\


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      RIHDFK&RPSDQ\EHDQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGWRWDNHDOODFWLRQVRUWRQRW
      WDNHDQ\DFWLRQLQWKHQDPHRIDQGRQEHKDOIRIHDFK

               &RPSDQ\ ZLWK UHVSHFW WR WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKHVH UHVROXWLRQV
      KHUHXQGHUDVWKHVROHVKDUHKROGHUSDUWQHUPHPEHURUPDQDJLQJPHPEHURIHDFKGLUHFW
      VXEVLGLDU\ RI HDFK &RPSDQ\ LQ HDFK FDVH DV VXFK $XWKRUL]HG 2IILFHU VKDOO GHHP
      QHFHVVDU\ DSSURSULDWH RU GHVLUDEOH LQ VXFK $XWKRUL]HG 2IILFHU¶V UHDVRQDEOH EXVLQHVV
      MXGJPHQWDVPD\EHQHFHVVDU\DSSURSULDWHRUGHVLUDEOHWRHIIHFWXDWHWKHSXUSRVHVRIWKH
      WUDQVDFWLRQVFRQWHPSODWHGKHUHLQ

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    3D\OHVV+ROGLQJV//&                                                     '(/$:$5(
    3D\OHVV,QWHUPHGLDWH+ROGLQJV//&                                         '(/$:$5(
    :%*366+ROGLQJV//&                                                      '(/$:$5(
    3D\OHVV,QF                                                              '(/$:$5(
    3D\OHVV)LQDQFH,QF                                                      1(9$'$
    &ROOHFWLYH%UDQGV6HUYLFHV,QF                                          '(/$:$5(
    366'HODZDUH&RPSDQ\,QF                                              '(/$:$5(
    6KRH6RXUFLQJ,QF                                                        .$16$6
    3D\OHVV6KRH6RXUFH,QF                                                  0,66285,
    (DVWERURXJK,QF                                                           .$16$6
    3D\OHVV3XUFKDVLQJ6HUYLFHV,QF                                          .$16$6
    3D\OHVV6KRH6RXUFH0HUFKDQGLVLQJ,QF                                     .$16$6
    3D\OHVV*ROG9DOXH&2,QF                                               &2/25$'2
    3D\OHVV6KRH6RXUFH'LVWULEXWLRQ,QF                                      .$16$6
    3D\OHVV6KRH6RXUFH:RUOGZLGH,QF                                         .$16$6
    3D\OHVV1<&,QF                                                          .$16$6
    3D\OHVV6KRH6RXUFHRI3XHUWR5LFR,QF                                  38(5725,&2
    3D\OHVV&ROOHFWLYH*3//&                                                '(/$:$5(
    &ROOHFWLYH/LFHQVLQJ/3                                                '(/$:$5(
    &ROOHFWLYH/LFHQVLQJ,QWHUQDWLRQDO//&                                   '(/$:$5(
    &OLQFK//&                                                               '(/$:$5(
    &ROOHFWLYH%UDQGV)UDQFKLVLQJ6HUYLFHV//&                                .$16$6
    3D\OHVV,QWHUQDWLRQDO)UDQFKLVLQJ//&                                     .$16$6
    366&DQDGD,QF                                                           .$16$6
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                                         D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                         %\V+HDWK)UHHPDQ                           
                                         1DPH +HDWK)UHHPDQ
                                         7LWOH     0DQDJHU



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                                         1DPH 0DUWLQ5:DGH
                                         7LWOH     0DQDJHU



                                         %\V5-RVHSK)XFKV                          
                                         1DPH 5-RVHSK)XFKV
                                         7LWOH    0DQDJHU



                                         %\V6FRWW9RJHO                              
                                         1DPH 6FRWW9RJHO
                                         7LWOH    0DQDJHU



                                         %\V3DWULFN%DUWHOV                          
                                         1DPH 3DWULFN%DUWHOV
                                         7LWOH    0DQDJHU



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                                         3$</(66,17(50(',$7(+2/',1*6//&
                                         D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



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                                         7LWOH    6HQLRU9LFH3UHVLGHQWDQG&KLHI)LQDQFLDO
                                         2IILFHU



                                         :%*366+2/',1*6//&
                                         D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                         %\V1HLO*+DQVHQ                               
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    0DQDJLQJ'LUHFWRU



                                         3$</(66,1&
                                         D'HODZDUHFRUSRUDWLRQ



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                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         3$</(66),1$1&(,1&
                                         D1HYDGD&RUSRUDWLRQ



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                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D'HODZDUHFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                     
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D'HODZDUHFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                     
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU




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                                         D.DQVDVFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                        
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D0LVVRXULFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                        
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



                                         %\V0DULR$=DUD]XD                      
                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         1DPH 5DPRQD3DOPHU(DVRQ
                                         7LWOH    'LUHFWRU



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                                         ($67%2528*+,1&
                                         D.DQVDVFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                      
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D.DQVDVFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                      
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         ,1&
                                         D.DQVDVFRUSRUDWLRQ



                                         %\V6WHSKHQ/3DWWRQ                   
                                         1DPH 6WHSKHQ/3DWWRQ
                                         7LWOH     'LUHFWRU



                                         %\V0DULR$=DUD]XD                    
                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU




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                                         3$</(66*2/'9$/8(&2,1&
                                         D&RORUDGRFRUSRUDWLRQ



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                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D.DQVDVFRUSRUDWLRQ



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                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D.DQVDVFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                     
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU




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                                         D.DQVDVFRUSRUDWLRQ



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                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         D'HODZDUHOLPLWHGOLDELOLW\SDUWQHUVKLS



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                                         ,WV*HQHUDO3DUWQHU



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                                         ,WV/LPLWHG3DUWQHU



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                                         D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                         %\V1HLO*+DQVHQ                           
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
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                                         7LWOH    'LUHFWRU



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                                         ,WV 0DQDJLQJ0HPEHU



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                                         7LWOH    'LUHFWRU



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                                         //&
                                         D.DQVDVOLPLWHGOLDELOLW\FRPSDQ\



                                         %\V1HLO*+DQVHQ                       
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    0DQDJLQJ'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    0DQDJLQJ'LUHFWRU



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                                         D.DQVDVFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                       
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



                                         %\V0DULR$=DUD]XD                     
                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         ,1&
                                         D3XHUWR5LFRFRUSRUDWLRQ



                                         %\V1HLO*+DQVHQ                        
                                         1DPH 1HLO*+DQVHQ
                                         7LWOH    'LUHFWRU



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                                         1DPH 0DULR$=DUD]XD
                                         7LWOH    'LUHFWRU



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                                         1DPH 5DPRQD3DOPHU(DVRQ
                                         7LWOH    'LUHFWRU



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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


In re:                                                         )    Case No. 19-_____-____
                                                               )    Chapter 11
PAYLESS HOLDINGS LLC, et al.,                                  )
                                                               )    (Joint Administration Requested)
                                        1
                             Debtors.                          )
                                                               )




                                VERIFICATION OF CREDITOR MATRIX

       The above named debtor(s) hereby certifies/certify under penalty of perjury that the
attached list containing the names and addresses of my creditors (Matrix), consisting of 3904
page(s) and is true, correct and complete.



                                                           /s/ Stephen Marotta________________________
                                                           Name: Stephen Marotta
                                                           Title: Chief Restructuring Officer
                                                           On behalf of the Debtors and Debtors in Possession

                                                           Dated: 02/18/2019




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC [0673]; Payless Inc.
[3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware Company 4, Inc. [1466]; Shoe
Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803]; Payless Purchasing Services, Inc. [3043];
Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO, Inc. [3581]; Payless ShoeSource Distribution, Inc.
[0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9017];
Payless Collective GP, LLC [2940]; Collective Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch,
LLC [9836]; Collective Brands Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada,
Inc. [4969]; Payless ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource
Canada LP [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas, Texas
75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’ service address is: c/o
Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
